
On March 20, 2003, the defendant was sentenced to the following: Count I: Ten (10) years in the Montana State Prison, with five (5) years suspended for the offense of Negligent Vehicular Assault, a felony; Count II: Ten (10) years in the Montana State Prison, with five (5) years suspended, to run consecutively to Count I, for the offense of Criminal Endangerment, a felony; and Count III: Sixty (60) days in the Ravalli County Jail, to run concurrently with Counts I and II, for the offense of DUI, a misdemeanor.
On August 21, 2003, the Sentence Review Division of the Montana Supreme Court heard the defendant’s application for review of that sentence.
The defendant was present and was represented by Dustin Chouinard. The state was represented by George Corn.
Before hearing the application, the defendant was advised that the Sentence Review Division has the authority not only to reduce the sentence or affirm it, but also increase it. The defendant was further advised that there is no appeal from a decision of the Sentence Review Division. The defendant acknowledged that he understood this and stated that he wished to proceed.
Rule 17 of the Rules of the Sentence Review Division of the Supreme Court of Montana provides that "the sentence imposed by the District Court is presumed correct, and the sentence will not be reduced or increased unless it is deemed clearly inadequate or excessive." (§46-18-904(3), MCA).
The Division finds that the reasons advanced for modification are insufficient to hold that the sentence imposed by the District Court is inadequate or excessive.
*48DATED this 8th day of September, 2003.
Therefore, it is the unanimous decision of the Sentence Review Division that the sentence shall be affirmed.
Done in open Court this 21st day of August, 2003.
Chairperson, Hon. Katherine R. Curtis, Member, Hon. Marc G. Buyske and Member, Hon. Gary L. Day.
